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 8                            IN THE UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,

11                  Respondent,                   CR. NO. S-99-0433 WBS GGH

12            vs.                                 ORDER

13   SON VAN NGUYEN,

14
                    Movant.
15                                          /

16                  Movant has requested investigative monies in the 28 U.S.C. § 2255 motion.1 The

17   request is denied without prejudice. Movant should first use telephonic/video means to interview

18   persons. If warranted and necessary, the court may then approve a renewed request that the

19   investigator make a (second) trip to the East Coast for the purpose of interviews.

20   DATED: February 15, 2011                       /s/ Gregory G. Hollows

21                                                UNITED STATES MAGISTRATE JUDGE
     nguyen.ord2
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             This order will be filed as it will purposefully not reveal any work product of movant’s
26   counsel.

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